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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 CYRIL B. KORTE, JANE E. KORTE,
 and KORTE & LUITJOHAN
 CONTRACTORS, INC.,
                  Plaintiffs,

 v.                                               CASE NO. 3:12-CV-01072-MJR-PMF

 UNITED STATES DEPARTMENT
 OF HEALTH AND HUMAN
 SERVICES; KATHLEEN SEBELIUS,
 in her official capacity as the Secretary of
 the United States Department of Health and
 Human Services; UNITED STATES
 DEPARTMENT OF THE TREASURY;
 TIMOTHY F. GEITHNER, in his official
 capacity as the Secretary of the United States
 Department of the Treasury; UNITED
 STATES DEPARTMENT OF LABOR;
 and HILDA L. SOLIS, in her official
 capacity as Secretary of the United States
 Department of Labor,

                    Defendants.
 _______________________________________/

               PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
             PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                         INTRODUCTION

        Defendants have promulgated and are implementing regulations that require employers to

 include in their employee health benefit plans coverage for contraceptives, including abortion-

 inducing drugs, sterilization, and related patient counseling and education.               (Hereafter

 “Mandate.”) Not complying with the Mandate subjects an employer to fines and penalties.

        Plaintiffs move this court for summary judgment on Count I of their complaint, which

 claims the Mandate violates Plaintiffs’ rights under the Religious Freedom Restoration Act, and

 on Count II of their complaint, which claims the Mandate violates Plaintiffs’ rights under the

 Free Exercise Clause of the United States Constitution. Plaintiffs preserve all other issues and

 claims in their complaint, including those that comprise Counts III, IV, and V, and a

 determination of attorneys’ fees and costs, for further proceedings.

        The Mandate, which directly applies to Plaintiffs on January 1, 2013, when their

 employee health plan is up for renewal, makes Plaintiffs face a stark choice: abandon their

 beliefs to stay in business, or abandon their business to stay true to their beliefs. That is a choice

 no government bound by the First Amendment and the Religious Freedom Restoration Act

 (hereafter “RFRA”) may lawfully impose upon them. This is especially true because the choice

 Defendants impose on Plaintiffs is a choice the government has decided not to impose on

 thousands of other employers who share Plaintiffs’ views, and tens of thousands more employers

 (of 100 million employees) who may or may not share Plaintiffs’ views. Such massive under-

 inclusiveness in rules purporting to further what appears to be a remarkably non-compelling

 “compelling interest” has already led the first court to consider this issue to enjoin the same

 regulations challenged here. See Newland v. Sebelius, 2012 U.S. Dist. LEXIS 104835 (D. Colo.

 July 27, 2012).



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                               UNDISPUTED MATERIAL FACTS

        Plaintiff Korte & Luitjohan Contractors, Inc. (hereafter “Korte & Luitjohan”) is a family

 owned, full-service construction contractor serving Central and Southern Illinois for over fifty

 years. Plaintiffs Cyril and Jane Korte own a controlling interest in Korte & Luitjohan, and they

 set the policies governing the conduct of all phases of the company. Cyril and Jane Korte hold to

 the teachings, values, and mission of the Catholic Church, including the Church’s teaching

 regarding the sanctity of human life from conception to natural death. They believe that actions

 intended to terminate an innocent human life by abortion are gravely sinful. They also adhere to

 the Catholic Church’s teaching regarding the immorality of artificial means of contraception and

 sterilization. Cyril and Jane Korte seek to manage and operate Korte & Luitjohan in a way that

 reflects their Catholic faith. (Ex. A, C. Korte Decl. at ¶¶ 1-5; Ex. B, J. Korte Decl. at ¶¶ 1-5.)

        Korte & Luitjohan currently has about ninety full-time employees. About seventy of

 those employees belong to unions and about twenty of those employees are non-union. Korte &

 Luitjohan provides a group health insurance plan only for non-union employees.                 Union

 employees are covered by separate health insurance through their respective unions over which

 Plaintiffs have no control. Like other non-cash benefits provided by Korte & Luitjohan, Cyril

 and Jane Korte consider the provision of employee health insurance an integral component of

 furthering the company’s mission and values. Defendants’ Mandate, which is the subject of this

 action, requires group health plans, such as the plan provided by Korte & Luitjohan for its non-

 union employees, to include coverage, without cost sharing, for contraceptives, including

 abortion-inducing drugs, sterilization, and related patient education and counseling.                The

 Mandate went into effect on August 1, 2012, and applies to Korte & Luitjohan when its group

 health plan comes up for renewal on January 1, 2013. Korte & Luitjohan is not exempt from the



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 Mandate. (Ex. A, C. Korte Decl. at ¶¶ 6-10; Ex. B, J. Korte Decl. at ¶¶ 6-10.)

        As was discovered in or about August 2012, Korte & Luitjohan’s current group health

 plan includes coverage for contraceptives, sterilization, and abortion, which is an error that is

 contrary to what Plaintiffs want based on their religious beliefs and contrary to the company’s

 ethical guidelines. The company is investigating ways to obtain a group plan that complies with

 the Kortes’ Catholic faith and the company’s ethical guidelines and will not cause them to

 arrange for, pay for, or otherwise support employee health plan coverage for contraceptives,

 sterilization, abortion, or related education and counseling. It takes about sixty days to explore

 whatever options, if any, are available to the company to have a new health plan in place by

 January 1, 2013. Thus, Plaintiffs are in need of immediate relief from the Mandate to allow time

 to obtain group health coverage by January 1, 2013, that complies with Cyril and Jane Kortes’

 religious beliefs and with the company’s ethical guidelines and to prevent a coverage lapse.1/ If

 the company fails to comply with the Mandate or drops its employee group health coverage, then

 the company could be subjected to annual fines and/or penalties. (Ex. A, C. Korte Decl. at ¶¶

 11-19; Ex. B, J. Korte Decl. at ¶¶ 11-19.)

        In sum, the Mandate requires Plaintiffs to choose between (a) complying with the

 Mandate and violating their religious beliefs and (b) not complying with the Mandate and having

 to pay annual fines and penalties in order to conduct business consistent with their religious

        1
          / The State of Illinois requires coverage for outpatient contraceptive services and drugs
 in individual and group health insurance policies. 215 Ill. Comp. Stat. § 5/356z.4. Yet, the
 Illinois Health Care Right of Conscience Act, 745 Ill. Comp. Stat. § 70/1, et seq., provides
 “health care payers,” 745 Ill. Comp. Stat. § 70/3(f), such as Plaintiffs, with an exemption from
 having to pay for, or having to arrange for the payment of, any health care services, including
 “family planning, counseling, referrals, or any other advice in connection with the use or
 procurement of contraceptives and sterilization or abortion procedures; medication; or surgery or
 other care or treatment,” 745 Ill. Comp. Stat. § 70/3(a), that violates the health care payer’s
 conscience as documented in its ethical guidelines or the like, 745 Ill. Comp. Stat. §§ 70/2,
 70/3(e), 70/11.2.

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 beliefs. (Ex. A, C. Korte Decl. at ¶ 17; Ex. B, J. Korte Decl. at ¶ 17.) Plaintiffs require relief

 from this court so they do not have to make that choice.

                        THE REGULATIONS BEING CHALLENGED

        On March 23, 2010, the Affordable Care Act (hereafter “ACA”) became law.2/ The

 ACA requires group health plans to provide no-cost coverage for the preventative care and

 screening of women in accordance with guidelines created by the Health Resources and Services

 Administration (hereafter “HRSA”).        42 U.S.C. § 300gg-13(a)(4).       The HRSA guidelines

 include, among other things, “[a]ll Food and Drug Administration approved contraceptive

 methods, sterilization procedures, and patient education and counseling for women with

 reproductive capacity.”     Women’s Preventive Services: Required Health Plan Coverage

 Guidelines, Health Res. & Servs. Admin., http://www.hrsa.gov/womensguidelines/ (last visited

 Aug. 21, 2012).

        On August 1, 2011, Defendants promulgated an interim final rule (“the Mandate”),

 requiring all “group health plan[s] and . . . health insurance issuer[s] offering group or individual

 health insurance coverage” to provide coverage for all FDA-approved contraceptive methods and

 sterilization procedures as well as patient education and counseling about those services. 76 Fed.

 Reg. 46621, 46622 (Aug. 3, 2011); 45 C.F.R. § 147.130 (2011). This interim rule, along with

 the religious employer exemption described below, was adopted as final, “without change,” on or

 about February 15, 2012. 77 Fed. Reg. 8725, 8729 (Feb. 15, 2012).


        2
          / In Nat’l Fed’n of Indep. Bus. v. Sebelius, 132 S. Ct. 2566 (2012), the Court upheld the
 so-called “individual mandate” of the ACA under the Constitution’s taxing power. In so doing,
 the Court did not rule on the constitutionality of the Mandate challenged herein. In fact, as
 Justice Ginsburg observed, “A mandate to purchase a particular product would be
 unconstitutional if, for example, the edict impermissibly abridged the freedom of speech,
 interfered with the free exercise of religion, or infringed on a liberty interest protected by the
 Due Process Clause.” Id. at 2624 (Ginsburg, J., concurring in part, dissenting in part).

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           Not all employers are required to comply with the Mandate. “Grandfathered” health

 plans, that is, plans in existence on March 23, 2010, and that have not undergone any of a

 defined set of changes,3/ are exempt from compliance with the Mandate. See 75 Fed. Reg.

 41726, 41731 (July 19, 2010).4/ Defendant HHS estimates that “98 million individuals will be

 enrolled in grandfathered group health plans in 2013.” Id. at 41732. Also exempted from the

 Mandate are non-profit “religious employers,” as defined at 45 C.F.R. § 147.130(a)(iv)(B). 76

 Fed. Reg. 46621, 46626 (Aug. 3, 2011); 77 Fed. Reg. 8725 (Feb. 15, 2012). In addition,

 employers with fewer than fifty full-time employees have no obligation to provide health

 insurance for their employees under the ACA and do not have to comply with the Mandate. 26

 U.S.C. § 4980H(c)(2)(A). Finally, under the ACA, individuals are exempt from the requirement

 to obtain health insurance if they are members of a “recognized religious sect or division” that

 conscientiously objects to acceptance of public or private insurance funds or are members of a

 “health care sharing ministry.” 26 U.S.C. §§ 5000A(d)(2)(A)(i), (ii), (B)(ii).

           Non-exempt employers who fail to provide an employee health insurance plan will be

 exposed to annual fines of roughly $2,000 per full-time employee. See 26 U.S.C. §§ 4980H(a),

 (c)(1).       Additionally, failure to provide certain required coverage may be subject to an

 assessment of $100 a day per employee. See 26 U.S.C. § 4980D(b)(1); see also STAMAN &

 SHIMABUKURO, CONG. RESEARCH SERV., RL 7-5700, ENFORCEMENT                  OF THE   PREVENTATIVE

 HEALTH CARE SERVICES REQUIREMENTS          OF THE    PATIENT PROTECTION   AND    AFFORDABLE CARE

 ACT (2012) (asserting this assessment applies to employers who violate the “preventive care”

 provision of the ACA).


           3
          / See 26 C.F.R. § 54.9815-1251T (2010); 29 C.F.R. § 2590.715-1251 (2010); 45 C.F.R.
 § 147.140 (2010).
        4
          / See 42 U.S.C. § 18011 (2010); 76 Fed. Reg. 46621, 46623 (Aug. 3, 2011).

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        In sum, Defendants have written into the challenged regulations categorical exemptions

 that exclude—literally—upwards of 100 million Americans from “preventative services”

 coverage. Given such massive under-inclusiveness, Plaintiffs’ entitlement to partial summary

 judgment is clear.

                                           ARGUMENT

 I.     SUMMARY JUDGMENT STANDARD.

        Federal Rule of Civil Procedure 56 permits this court to award Plaintiffs partial summary

 judgment. As Rule 56 explains, “[t]he court shall grant summary judgment if the movant shows

 that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

 matter of law.” Based on this standard, Plaintiffs are deserving of a grant of summary judgment

 on Count I (RFRA) and Count II (Free Exercise Clause) of their complaint.5/

 II.    AS A MATTER OF LAW, SUMMARY JUDGMENT SHOULD BE GRANTED
        ON PLAINTIFFS’ RFRA CLAIM (COUNT I).

        The Mandate violates Plaintiffs’ rights secured by the Religious Freedom Restoration Act

 (“RFRA”), 42 U.S.C. § 2000bb, et seq. The Act has the following two purposes:

        (1)   to restore the compelling interest test as set forth in Sherbert v. Verner, 374
              U.S. 398 (1963) and Wisconsin v. Yoder, 406 U.S. 205 (1972) and to
              guarantee its application in all cases where free exercise of religion is
              substantially burdened; and

        (2)   to provide a claim or defense to persons whose religious exercise is
              substantially burdened by government.

 42 U.S.C. § 2000bb(b); O’Bryan v. Bureau of Prisons, 349 F.3d 399, 401 (7th Cir. 2003)

 (“RFRA governs the activities of federal officers and agencies.”).


        5
          / The district court in O'Brien v. U.S. Dep't of Health & Human Servs., 2012 U.S. Dist.
 LEXIS 140097 (E.D. Mo. Sept. 28, 2012), recently dismissed claims similar to those raised by
 Plaintiffs here. The O'Brien decision, which is non-binding on this court, is on appeal. Case No.
 12-3357 (8th Cir.).

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        Under RFRA, the “[g]overnment shall not substantially burden a person’s exercise of

 religion even if the burden results from a rule of general applicability.” 42 U.S.C. § 2000bb-

 1(a). The only time the federal government may substantially burden a person’s exercise of

 religion is if “it demonstrates that application of the burden to the person (1) is in furtherance of

 a compelling governmental interest; and (2) is the least restrictive means of furthering that

 compelling governmental interest.” 42 U.S.C. § 2000bb-1(b) (emphasis added).

        A. The Mandate Substantially Burdens Plaintiffs’ Exercise Of Religion.

        To trigger the protections afforded by RFRA, Plaintiffs must first show that a federal

 governmental policy or action substantially burdens their sincerely held religious beliefs. United

 States v. Israel, 317 F.3d 768, 771 (7th Cir. 2003). Once that showing has been made, the

 burden shifts to the government to show that it had a compelling interest that the policy or action

 protects by the least restrictive means available. Id.

        Several Supreme Court cases are illustrative of what a substantial burden involves in the

 freedom of religion context. In Sherbert v. Verner, 374 U.S. 398 (1963), the Court held that a

 state’s denial of unemployment benefits to a Seventh-Day Adventist employee, whose religious

 beliefs prohibited her from working on Sunday, substantially burdened her exercise of religion.

 The regulation “force[d] her to choose between following the precepts of her religion and

 forfeiting benefits, on the one hand, and abandoning one of the precepts of her religion in order

 to accept work, on the other hand.” Id. at 404. In Thomas v. Review Bd., 450 U.S. 707 (1981),

 the Court held a state’s denial of unemployment compensation benefits to a Jehovah’s Witness

 employee, whose religious beliefs prohibited him from participating in the production of

 armaments, substantially burdened his religious beliefs. “[T]he employee was put to a choice

 between fidelity to religious belief or cessation of work.” Id. at 717. In Wisconsin v. Yoder, 406



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 U.S. 205 (1972), the Court held that a state compulsory school-attendance law substantially

 burdened the religious exercise of Amish parents who refused to send their children to high

 school. The Court found the burden “not only severe, but inescapable,” requiring the parents “to

 perform acts undeniably at odds with fundamental tenets of their religious belief.” Id. at 218.

        Plaintiffs face the same inescapable burden faced by the religious claimants in these

 cases. In the wake of the Mandate, and beginning on January 1, 2013, Plaintiffs must either pay

 for a health plan that includes drugs and services to which they religiously object or suffer severe

 penalties. They have no other options. There is no way of avoiding this conflict. Should

 Plaintiffs exclude contraceptive services in a health plan for Korte & Luitjohan employees, Korte

 & Luitjohan will face substantial penalties as set forth in 26 U.S.C. § 4980D, in addition to

 potential lawsuits by plan participants, plan beneficiaries, and the Secretary of Labor. See 29

 U.S.C. § 1132(a). Should Plaintiffs drop health insurance for their employees altogether, Korte

 & Luitjohan will face substantial penalties as set forth in 26 U.S.C. § 4980H, in addition to

 losing good will with its employees and losing a competitive edge in the employment

 marketplace. In short, owing to the Mandate, Plaintiffs cannot create a health plan for Korte &

 Luitjohan employees consistent with their religious beliefs and consistent with the company’s

 ethical guidelines without incurring substantial penalties of some kind.

        Defendants cannot deny that the Mandate implicates the religious beliefs and practices of

 numerous employers. On the contrary, the Defendants themselves have expressly acknowledged

 the burden on religious beliefs presented by the challenged regulations. Recognizing that paying

 for, providing, or subsidizing contraceptive services would conflict with “the religious beliefs of

 certain religious employers,” Defendants have granted a wholesale exemption for a class of

 employers, i.e., churches and their auxiliaries, from complying with the Mandate. 76 Fed. Reg.



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 46621, 46623 (Aug. 3, 2011); 77 Fed. Reg. 8725 (Feb. 15, 2012). In addition, the government

 has provided a temporary enforcement safe harbor for any employer, group health plan, or group

 health insurance issuer that fails to cover some or all recommended contraceptive services and

 that is sponsored by a non-profit organization that meets certain criteria.6/ During the time of

 this temporary safe harbor, Defendants are considering ways of “accommodating non-exempt,

 non-profit religious organizations’ religious objections to covering contraceptive services [while]

 assuring that participants and beneficiaries covered under such organizations’ plans receive

 contraceptive coverage without cost sharing.” 77 Fed. Reg. 16501, 16503 (Mar. 21, 2012).

 Defendants are even considering whether “for-profit religious employers with [religious]

 objections should be considered as well.” Id. at 16504.

        Indeed, Defendant Sebelius herself has publicly acknowledged that the Mandate raises

 religious concerns. In a January 20, 2012, press release announcing the finalization of the

 Mandate and the temporary safe harbor period for non-profit entities that object to contraceptive

 services, Sebelius opined that the temporary reprieve “strikes the appropriate balance between

 respecting religious freedom and increasing access to important preventative services.”7/

 Subsequently, in a July 31, 2012, press release, Sebelius stated that “[t]he Obama administration

 will continue to work with all employers to give them the flexibility and resources they need to




        6
           / DEP’T OF HEALTH & HUMAN SERVS., GUIDANCE ON THE TEMPORARY ENFORCEMENT
 SAFE        HARBOR       3     (2012),    available    at     http://cciio.cms.gov/resources/files/
 Files2/02102012/20120210-Preventive-Services-Bulletin. pdf (last visited Aug. 22, 2012).
         7
           / Press Release, A Statement by U.S. Department of Health & Human Services Secretary
 Kathleen         Sebelius      (2012),     available      at      http://www.hhs.gov/news/press/
 2012pres/01/20120120a.html (last visited Aug. 12, 2012).

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 implement the health care law in a way that protects women’s health while making common-

 sense accommodations for values like religious liberty.”8/

        In short, Defendants cannot make a straight-faced argument in this litigation that the

 Mandate does not impose a substantial burden on the exercise of religious beliefs.

        B.      Anticipated Arguments By Defendants.

        Plaintiffs anticipate that Defendants will incorrectly claim that Plaintiffs are not entitled

 to relief based on the status of Korte & Luitjohan as a corporation, the status of Cyril and Jane

 Korte as individuals, or the company’s status as a for-profit employer.

        Corporations are legal “persons” who enjoy constitutional and statutory rights.9/ Cases

 make clear that the First Amendment rights enjoyed by corporations include the right to the free

 exercise of religion. Braunfeld v. Brown, 366 U.S. 599 (1961) (adjudicating, inter alia, free

 exercise claims of for-profit businesses); Stormans, Inc. v. Selecky, 586 F.3d 1109 (9th Cir.

 2009) (adjudicating free exercise claim of for-profit pharmacy corporation); Primera Iglesia

 Bautista Hispana v. Broward Cnty., 450 F.3d 1295 (11th Cir. 2006) (“corporations possess

 Fourteenth Amendment rights” including “the free exercise of religion.”); EEOC v. Townley

 Eng’g & Mfg. Co., 859 F.2d 610 (9th Cir. 1988) (for-profit corporation could assert owners’ free

 exercise rights); Commack Self-Service Kosher Meats, Inc. v. Hooker, 800 F. Supp. 2d 405 (E.D.

 N.Y. 2011) (adjudicating corporation’s free exercise challenge).

        8
           / Press Release, Health Care Law Gives Women Control Over Their Care, Offers Free
 Preventive Services To 47 Million Women (2012), available at http://www.hhs.gov/
 news/press/2012pres/07/20120731a.html (last visited Aug. 21, 2012).
         9
           / See Citizens United v. FEC, 130 S. Ct. 876, 899 (2010) (“The Court has recognized
 that First Amendment protection extends to corporations.”); see also Monell v. N.Y. City Dep’t of
 Social Servs., 436 U.S. 658, 687 (1978) (“by 1871, it was well understood that corporations
 should be treated as natural persons for virtually all purposes of constitutional and statutory
 analysis”); 1 U.S.C. § 1 (“[i]n determining the meaning of any Act of Congress, unless the
 context indicates otherwise . . . ‘person’ . . . include[s] corporations, companies, associations,
 firms, partnerships, societies, and joint stock companies, as well as individuals”).

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        Two State Supreme Courts, including the State of Illinois, have also recognized that for-

 profit corporations have free exercise rights deserving of protection. See Morr-Fitz, Inc. v.

 Blagojevich, 231 Ill. 2d 474 (2008) (corporate pharmacy had standing to bring, inter alia, federal

 free exercise claim); McClure v. Sports & Health Club, Inc., 370 N.W.2d 844, 850 (Minn. 1985)

 (Minn. 1985) (the “conclusory assertion that a corporation has no constitutional right to free

 exercise of religion is unsupported by any cited authority”).

        Also, the fact that Cyril and Jane Kortes’ individual free exercise rights are burdened by

 the Mandate is beyond serious questioning.        See Townley, 859 F.2d 610 (recognizing that

 business owner’s free exercise rights are impacted by burden on corporation); Stormans, 586

 F.3d 1109 (corporation had standing to assert free exercise rights of owners); Morr-Fitz, 231 Ill.

 2d 474 (plaintiffs were both corporations and individual owners).

        Finally, there is no merit to any argument that one abandons the right to free exercise

 upon entering the commercial marketplace. See Braunfeld, 366 U.S. 599 (adjudicating free

 exercise claims of retail store owners). The case of United States v. Lee, 455 U.S. 252 (1982), is

 not to the contrary. In Lee, while ultimately finding that a compelling governmental interest

 outweighed the free exercise rights of an Amish farmer and carpenter, the Supreme Court

 acknowledged that—even though he had entered the commercial marketplace—the social

 security regulations of which he complained were indeed a burden on his free exercise rights.

        In short, none of these anticipated arguments are valid.

        C. RFRA Imposes Strict Scrutiny.

        RFRA requires application of the “strict scrutiny test.” Gonzales v. O Centro Espirita

 Beneficente Uniao do Vegetal, 546 U.S. 418, 430 (2006). This test, which requires “the most

 rigorous of scrutiny,” Church of the Lukumi Babalu Aye v. City of Hialeah, 508 U.S. 520, 546



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 (1993), “is the most demanding test known to constitutional law,” City of Boerne v. Flores, 521

 U.S. 507, 534 (1997). The government must demonstrate that the challenged law serves “a

 compelling governmental interest” and is the “least restrictive means of furthering that

 compelling governmental interest.” 42 U.S.C. § 2000bb-1(b).

        As described above, the strict scrutiny test imposed by RFRA must be conducted

 “through application of the challenged law ‘to the person’—the particular claimant whose

 sincere exercise of religion is being substantially burdened.” O Centro Espirita, 546 U.S. at 430-

 31 (emphasis added). Indeed, in both Sherbert and Yoder, the Court “looked beyond broadly

 formulated interests justifying the general applicability of government mandates and scrutinized

 the asserted harm of granting specific exemptions to particular religious claimants.” Id. at 431.

 It is therefore not enough for the government to describe a compelling interest in the abstract or

 in a categorical fashion; the government must demonstrate that the interest “would be adversely

 affected by granting an exemption” to the religious claimant. Id. In other words, in this case the

 government must demonstrate that exempting Plaintiffs from the Mandate is necessary to

 advance its compelling interest even while the same government willingly exempts thousands of

 other employers who employ nearly 100 million employees.

        D. Defendants Cannot Demonstrate A Compelling Governmental Interest.

        Just last term, the Supreme Court described a compelling state interest as a “high degree

 of necessity,” Brown v. Entm’t Merchs. Ass’n, 131 S.Ct. 2729, 2741 (2011), noting that “[t]he

 State must specifically identify an ‘actual problem’ in need of solving, and the curtailment of

 free speech must be actually necessary to the solution.” Id. at 2738 (citations omitted). The

 “[m]ere speculation of harm does not constitute a compelling state interest.” Consol. Edison Co.

 v. Pub. Serv. Comm’n, 447 U.S. 530, 543 (1980). As such, the government’s invocation of the



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 promotion of health and equality as compelling interests, without more, is insufficient to meet

 the demands of strict scrutiny. While recognizing “the general interest in promoting public

 health and safety,” the Supreme Court held in O Centro Espirita that “invocation of such general

 interests, standing alone, is not enough.” O Centro Espirita, 546 U.S. at 438. The government

 must demonstrate “some substantial threat to public safety, peace, or order” in not exempting the

 claimant. Yoder, 406 U.S. at 230.

        Defendants have proffered two compelling governmental interests for the Mandate:

 public health and gender equity goals. 77 Fed. Reg. 8725, 8729 (Feb. 15, 2012). What radically

 undermines the government’s claims of compelling interests is the massive number of

 employees, millions in fact, whose health and equality are completely unaffected by the Mandate

 and therefore not served by the government’s alleged interests. See Newland, 2012 U.S. Dist.

 LEXIS 104835 at *23. For example, Defendants cannot explain how their alleged interests can

 be compelling when employers with fewer than fifty employees10/ have no obligation to provide

 health insurance for their employees and thus no obligation to comply with the Mandate.11/ With

 respect to Plaintiffs, Defendants cannot sufficiently explain how there is a compelling interest in

 coercing Plaintiffs into violating their religious principles when businesses with fewer than fifty

 employees can avoid the Mandate entirely by not providing any insurance.

        Defendants also cannot explain how these interests can be of the highest order when the

 Mandate does not apply to plans grandfathered under the ACA. The government itself has

 estimated that “98 million individuals will be enrolled in grandfathered group health plans in

        10
           / More than 20 million individuals are employed by firms with fewer than 20
 employees. STATISTICS ABOUT BUSINESS SIZE (INCLUDING SMALL BUSINESS) FROM THE U.S.
 CENSUS BUREAU, U.S. CENSUS BUREAU, http://www.census.gov/econ/smallbus.html (last visited
 Aug. 3, 2012).
        11
           / Employers are not subject to penalties for not providing health insurance coverage if
 they have fewer than 50 full-time employees. 26 U.S.C. § 4980H(c)(2).

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 2013.” 75 Fed. Reg. 41726, 41732 (July 19, 2010). When this figure is added to the number of

 employees of businesses with fewer than fifty employees, it is fair to say that well over 100

 million employees are left untouched by the government’s claim of compelling interests. “It is

 established in our strict scrutiny jurisprudence that a law cannot be regarded as protecting an

 interest of the highest order . . . when it leaves appreciable damage to that supposedly vital

 interest unprohibited.” Lukumi, 508 U.S. at 547 (citations and internal quotation marks omitted).

 Because there is little that is uniform about the Mandate, as demonstrated by the massive number

 of employees that are untouched by it, we do not have an instance here of “a need for uniformity

 [that] precludes the recognition of exceptions to generally applicable laws under RFRA.” O

 Centro Espirita, 546 U.S. at 436.

        The existence of these enormous loopholes in the Mandate led Judge Kane in Newland v.

 Sebelius to issue a preliminary injunction: the “massive” number of employees untouched by the

 Mandate “completely undermines any compelling interest in applying the preventive care

 coverage mandate to Plaintiffs.” Newland, 2012 U.S. Dist. LEXIS 104835 at *23.

        Moreover, the fact that contraceptive services are widely available throughout the country

 further undercuts the government’s assertions that its interests are compelling. The government

 describes its asserted interests as though a vast majority of citizens forego contraception or that

 no one has ready access to it. But the facts simply do not support the government’s cry of alarm

 as attested to by the statements of Defendants themselves as well as sources upon which the

 Defendants rely.12/ In fact, even if Defendants could show that the Mandate has the potential to


        12
          / E.g., GUTTMACHER INST., FACT SHEET: CONTRACEPTIVE USE IN THE UNITED STATES
 (2012), available at http://www.guttmacher.org/pubs/fb_contr_use.html (last visited Aug. 3,
 2012) (“Nine in 10 employer-based insurance plans cover a full range of prescription
 contraceptives[. . . . ]”); Press Release, A Statement by U.S. Department of Health and Human
 Services Secretary Kathleen Sebelius (2012), available at http://www.hhs.gov/news/
                                                             (Text of footnote continues on following page.)

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 increase the availability of contraceptives to some degree, “the government does not have a

 compelling interest in each marginal percentage point by which its goals are advanced.” Brown,

 131 S.Ct. at 2741, n.9.

        In sum, Defendants cannot demonstrate a compelling interest in requiring Plaintiffs to

 comply with a mandate for their approximately twenty non-union employees that does not apply

 to the employers of over 100 million employees nationwide.             Defendants cannot show a

 “substantial threat to public safety, peace or order” should Plaintiffs be exempt from the

 Mandate. Yoder, 406 U.S. at 230.

        E. The Mandate Is Not The Least Restrictive Means.

        The existence of a compelling interest in the abstract does not give Defendants carte

 blanche to promote that interest through any regulation of their choosing particularly where, as

 here, Defendants attempt at regulation runs up against what Defendants themselves recognize is

 the exercise of a fundamental right. If the government “has open to it a less drastic way of

 satisfying its legitimate interests, it may not choose a [regulatory] scheme that broadly stifles the

 exercise of fundamental personal liberties.” Anderson v. Celebrezze, 460 U.S. 780, 806 (1983).

        Assuming arguendo that the interests proffered by Defendants are compelling, the

 Mandate is not the least restrictive means of furthering those interests. If Defendants wish to

 further the interests of health and equality by means of free access to contraceptive services,

 Defendants could do so in a myriad of ways without coercing Plaintiffs, in violation of their

 religious exercise, into doing so. For example, 1) provide these services to citizens itself; 2)

 reimburse citizens who pay to use contraceptives, allowing citizens to submit receipts to the


 press/2012pres/01/20120120a.html (last visited Aug. 3, 2012) (noting that “contraceptive
 services are available at sites such as community health centers, public clinics, and hospitals with
 income-based support.”).

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 government for payment; 3) offer tax deductions or credits for the purchase of contraceptive

 services, and 4) impose a mandate on pharmaceutical companies that manufacture contraceptives

 to provide such products through pharmacies, doctor’s offices, and health clinics free of charge.

         Each of these options would further Defendants’ proffered compelling interests in a direct

 way that would not impose a substantial burden on persons such as Plaintiffs. See Newland,

 2012 U.S. Dist. LEXIS 104835 at *23-27 (rejecting government’s claim that the Mandate

 furthers a compelling governmental interest through the least restrictive means). Of the various

 and sundry ways the government could achieve its interests, it has chosen a path with clear and

 undeniable adverse consequences to employers with religious objections to contraceptive

 services, such as Plaintiffs.

         Although Defendants may contend that any or all of these options would prove difficult

 to establish or operate, “least restrictive means” does not mean the most convenient way for the

 government. Even if the government claims these or other options would not be as effective or

 efficient as the Mandate, “a court should not assume a plausible, less restrictive alternative

 would be ineffective.” United States v. Playboy Entm’t Grp., Inc., 529 U.S. 803, 824 (2000)

 (emphasis added). In fact, if a less restrictive alternative would serve the government’s purpose,

 “the legislature must use that alternative.” Id. at 813. The asserted interests of health and

 equality “cannot be invoked as a talismanic incantation to support any [law].” United States v.

 Robel, 389 U.S. 258, 263 (1967). Therefore, as a matter of law, Plaintiffs should be awarded

 summary judgment on their RFRA claim (Count I).

 II.     AS A MATTER OF LAW, SUMMARY JUDGMENT SHOULD BE GRANTED
         ON PLAINTIFFS’ FREE EXERCISE CLAIM (COUNT II).

         The Mandate also operates to deny Plaintiffs their right to the free exercise of religion

 even under the analytical framework announced in Emp’t Div. v. Smith, 494 U.S. 872 (1990). “A

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  law burdening religious practice that is not neutral or not of general application must undergo the

  most rigorous of scrutiny.” Lukumi, 508 U.S. at 546. “Neutrality and general applicability are

  interrelated” and “failure to satisfy one requirement is a likely indication that the other has not

  been satisfied.” Id. at 531. Here, because the Mandate is not neutral or of general application,

  the demanding strict scrutiny applies.

         A. The Mandate Is Not Neutral.

         Obviously, the government may not discriminate among classes of religious believers

  based on their status as institutions, organizations, or preferred denominations.        See, e.g.,

  Lukumi, 508 U.S. at 533; McDaniel v. Paty, 435 U.S. 618 (1978).

         Using its “discretion,” the government has exempted from the Mandate non-profit entities

  that have as their purpose the “inculcation of religious values,” “primarily employs persons who

  share its religious tenets,” and “primarily serves persons who share its religious tenets.” 76 Fed.

  Reg. 46621, 46623 (Aug. 3, 2011); 77 Fed. Reg. 8725 (Feb. 15, 2012).             Thus, under the

  Mandate, some religious organizations and institutions, like churches and their “integrated

  auxiliaries,” id., enjoy a wholesale exemption from compliance, but other entities with religious

  principles and beliefs, like Korte & Luitjohan, for example, are subject to them.          Such a

  discriminatory system gives obvious preference to the religious beliefs and practices of certain

  religious institutions over those who do not satisfy the government’s definition of “religious

  employer”; it gives a religious preference; a preference for entities that practice their religion

  according to standards set out by the government, over those who do not. The Mandate thus fails

  the test of religious neutrality by granting a blanket exemption to religious institutions while

  leaving other religious employers unprotected — the very kind of “religious gerrymander” which

  demonstrates a lack of neutrality.       Lukumi, 508 U.S. at 534 (“The Court must survey



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  meticulously the circumstances of governmental categories to eliminate, as it were, religious

  gerrymanders”) (citations omitted).

         In Frazee v. Emp’t Sec. Dep’t, 489 U.S. 829 (1989), the Court definitively dismissed the

  idea (implicit in the Mandate and its narrow religious exemption) that institutionalized or

  organized religion is somehow entitled to greater deference than individual beliefs: “we reject

  the notion that to claim the protection of the Free Exercise Clause, one must be responding to the

  commands of a particular religious organization. Here, Frazee’s refusal [to work on the Sabbath]

  was based on a sincerely held religious belief. Under our cases, he was entitled to invoke First

  Amendment protection.” Id. at 834.

         Finally, there can be little doubt that the Mandate targets religiously-motivated conduct.

  “[T]he effect of a law in its real operation is strong evidence of its object.” Lukumi, 508 U.S. at

  535. Because of the Mandate, employers like Plaintiffs cannot fashion their health insurance

  plans according to their religious, moral, and conscientious beliefs. In the wake of the Mandate,

  employers like Plaintiffs must either abandon these religious, moral, and conscientious beliefs or

  pay substantial penalties.

         B. The Mandate Is Not Generally Applicable.

         Because the Mandate does not apply to grandfathered health plans or religious employers

  as defined at 45 C.F.R. § 147.130(a)(iv)(B), and because employers with fewer than fifty

  employees can avoid the Mandate entirely by dispensing with health insurance, the Mandate is

  not generally applicable.13/    Unlike in Smith, which involved “across-the-board criminal

  prohibition on a particular form of conduct,” 494 U.S. at 1603, the Mandate is not an “across-

         13
           / Individuals who are members of a “recognized religious sect or division” that
  conscientiously objects to acceptance of public or private insurance funds or are members of a
  “health care sharing ministry” are also exempt from the ACA and therefore the Mandate. See 26
  U.S.C. §§ 5000A(d)(2)(A)(i), (ii), (B)(ii).

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  the-board requirement” that all employers nationwide include contraceptive services in health

  plans for employees. The Mandate substantially burdens the religiously motivated conduct of

  Plaintiffs while, at the same time, exempting a sizable population that either has nothing to do

  with religion or that does not meet the government’s definition of a “religious employer.” Such

  a scheme can hardly be described as generally applicable.

         There can be no merit to an argument that, because these exemptions do not create a

  subjective, case-by-case inquiry into the reasons for an employer’s objection to covering

  contraceptive services, strict scrutiny cannot apply. Smith and Lukumi do not support this view.

  As now Justice Alito wrote for the Third Circuit in Fraternal Order of Police v. City of Newark,

  170 F.3d 359, 365 (3d Cir. 1999) (emphasis added), holding that a police department violated the

  free exercise clause when it refused religious exemptions from prohibition against officers

  wearing beards while allowing medical exemption from same prohibition:

         While the Supreme Court did speak in terms of “individualized exemptions” in
         Smith and Lukumi, it is clear from those decisions that the Court’s concern was
         the prospect of the government’s deciding that secular motivations are more
         important than religious motivations. If anything, this concern is only further
         implicated when the government does not merely create a mechanism for
         individualized exemptions, but instead, actually creates a categorical exemption
         for individuals with a secular objection but not for individuals with a religious
         objection.

         In other words, categorical secular exemptions make a law even less generally applicable

  than individualized secular exemptions.      And, in this case, there is something even more

  egregious than a categorical preference for secular exemptions over religious ones: it is a

  categorical exemption for one class of religious objectors over another class of religious

  objectors. In addition, recognizing a categorical exemption for employers with grandfathered

  health plans but not employers with a religious objection to contraceptive services like Plaintiffs,

  belies any assertion that the Mandate is generally applicable. By exempting some religious

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  objectors, but not others, and exempting some employers for secular reasons but not religious

  ones, the regulations at issues are “sufficiently suggestive of discriminatory intent so as to trigger

  heightened scrutiny under Smith and Lukumi.” Id.; see also Lukumi, 508 U.S. at 542 (“All laws

  are selective to some extent, but categories of selection are of paramount concern when a law has

  the incidental effect of burdening religious practice.       The Free Exercise Clause protect[s]

  religious observers against unequal treatment[. . . .]”) (citation and internal marks omitted).

         Where the government “has in place a system of individual exemptions, it may not refuse

  to extend that system to cases of ‘religious hardships’ without compelling reason.” Lukumi, 508

  U.S. at 568 (internal citations omitted). Similarly, because the government under the ACA and

  the Mandate has in place a system of categorical exemptions, it may not refuse to exempt

  entities that demonstrate religious hardship, like Korte & Luitjohan, “without compelling

  reason.” As previously explained, Defendants cannot satisfy the demanding standard of strict

  scrutiny. Thus, as a matter of law, Plaintiffs should be awarded summary judgment on their Free

  Exercise claim (Count II).

                                         CONCLUSION

         Plaintiffs request that this court grant their motion for partial summary judgment.

         Respectfully submitted on this 10th day of October, 2012.

                                                           /s/ Edward L. White III
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 10, 2012, true and correct copies of the foregoing and

  exhibits were caused to be sent by certified United States Mail, return receipt requested, to the

  following:

  U.S. Department of Health & Human Services           U.S. Department of Labor
  200 Independence Avenue, S.W.                        200 Constitution Avenue, N.W.
  Washington, D.C. 20201                               Washington, D.C .20210
  Defendant                                            Defendant
  Tracking No.: 7011-3500-0003-0896-2452               Tracking No.: 7011-3500-0003-0896-2438

  Kathleen Sebelius, Secretary                         Hilda Solis, Secretary
  U.S. Department of Health & Human Services           U.S. Department of Labor
  200 Independence Avenue, S.W.                        200 Constitution Ave., N.W.
  Washington, D.C. 20201                               Washington, D.C. 20210
  Defendant                                            Defendant
  Tracking No.: 7011-3500-0003-0896-2407               Tracking No.: 7011-3500-0003-0896-2384

  U.S. Department of the Treasury                      Civil-process clerk
  1500 Pennsylvania Avenue, N.W.                       c/o Stephen Wigginton, U.S. Attorney
  Washington, D.C. 20220                               Southern District of Illinois
  Defendant                                            750 Missouri Avenue, 3rd Floor
  Tracking No.: 7011-3500-0003-0896-2414               East St. Louis, Illinois 62201
                                                       Tracking No.: 7011-3500-0003-0896-2445
  Timothy Geithner, Secretary
  U.S. Department of the Treasury                      Eric Holder, Attorney General
  1500 Pennsylvania Avenue, N.W.                       U.S. Department of Justice
  Washington, D.C. 20220                               950 Pennsylvania Avenue, N.W.
  Defendant                                            Washington, D.C. 20530-0001
  Tracking No.: 7011-3500-0003-0896-2391               Tracking No.: 7011-3500-0003-0896-2469


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